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                          5    Attorneys for Plaintiff

                          6

                          7                                 UNITED STATES DISTRICT COURT

                          8                                        DISTRICT OF NEV ADA

                          9    SIERRA NEV ADA CORPORATION,                                CASE NO. 3:11-cv-00893-LRH-VPC
                               a Nevada Corporation,
                         10
                                               Plaintiff,                                 AFFIDAVIT OF RENEW AL OF
                         11                                                               DEFAULT JUDGMENT AGAINST
                               vs.                                                        DIGIBEE MOBILE LTD.
                         12
                               DIGIBEE MOBILE LTD., a foreign company,
                         13
                                               Defendant.
          El             14                                                      I
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                         15             I, Matthew B. Hippler, being first duly sworn, deposes and says as follows:
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                 Cl"\

~ ~ ~ 16                                1.   I am an attorney licensed to practice law in the state of Nevada, and a partner with
::c:      ~       c<:I
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'"d       <U     z6$ 17        the law firm of Holland & Hart, the attorneys for Plaintiff/Judgment Creditor Sierra Nevada
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                               Corporation ("SNC").
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         "'<t"
         .....
         "'<t"           19             2.   Plaintiff/Judgment Creditor: SNC, a Nevada Corporation. There are no successors-
                         20    in-interest to the Plaintiff/Judgment Creditor.
                         21                  Defendant/Judgment Debtor: Digibee Mobile Ltd.
                         22             3.   A Judgment in a Civil Case was entered on April 13, 2012 and an Amended
                         23    Judgment in a Civil Case (the "Judgment") was entered on April 18, 2012, in favor of SNC and
                         24    against Judgment Debtor in the amount of $1,017,870.11.
                         25             4.   The Judgment has not been recorded.
                         26             5.   There are no outstanding Writs of Execution for enforcement of the Judgment.
                         27             6.   No payments have been received.
                         28             7.   There are no setoffs or counterclaims in favor of the Judgment Debtor.

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                                                8.             The amount due on the Judgment in favor of SNC as of this date, including accrued

                              2     interest, is as follows:
                              ,.,
                              .)                     A.                 Judgment                                                                                              $1,017,870.11
                              4                      B.                 Post-Judgment interest at the legal rate from 4/13/2012                                                 $321,158 .93
                              5                                        through 1129/2018
                              6
                                                                        TOTAL DUE                                                                                             $1,339,029.04
                              7

                              8                9.              The last known address for Judgment Debtor: c/o Suresh Chandra Kishorchandra

                              9     Dholkia, No.7, I Main Road Domlur 2nd Stage, Bangalore KA 560071 IN.

                             10                I do hereby swear under penalty of perjury that the foregoing assertions are true . The

                             11     undersigned affirms that the foregoing does not contain the social security of any person.

                             12                DATED this 26th day of January 2018 .

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dd      ~  ~ 17                     COUNTY OF WASHOE                                                                 )
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                                                SIGNED AND SWORN to before me this
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        ..._,,...
                                                                                                                                                             day of January, 2018, by Matthew
        ..._,,...
        ..,..,               19
                                    B. Hippler.
                             20

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                                           l ~Appointment R&corded In Washoe County g
                             23            =10111                   No: 14-14863-2 ·~res July 13 2018 ;
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